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                           11   Attorneys for Defendants BARRY BOERSMA, HERMAN
                                ROBINSON, JOHN CUNNINGHAM, MIKE KOUTNIK,
                           12
                                RAUL MUNOZ, and ROBERT NICHELINI
                           13

                           14                               UNITED STATES DISTRICT COURT

                           15                              EASTERN DISTRICT OF CALIFORNIA

                           16

                           17 V.W., a minor, by and through her Guardian )    CASE NO. 2:12-cv-01629-MCE-AC
                                                                         )
                           18 Ad Litem, Tanaya Barber, Individually and )
                              as Successor in Interest of Decedent
                                                                         )
                           19 MICHAEL WHITE,                             )
                                                                         )    DECLARATION OF SEAN CONLEY IN
                           20                        Plaintiffs,         )    SUPPORT OF DEFENDANTS’ MOTION
                                                                         )    FOR SUMMARY JUDGMENT AND/OR
                           21                                            )    SUMMARY ADJUDICATION
                                     v.
                                                                         )
                           22                                            )
                              ROBERT NICHELINI, et al.                        Date: May 19, 2016
                                                                         )    Time: 2:00 p.m.
                           23                                            )    Place: Courtroom 7
                              Defendants.                                )
                           24                                            )
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   Gibbons & Conley
                           28
  ATTORNEYS AT LAW
 1333 N. California Blvd
                                                                                 1
       Suite 110
Walnut Creek, CA 94596
    (925) 932-3600
                                DECLARATION OF SEAN CONLEY IN SUPPORT OF DEFENDANTS’ MOTION FOR    CASE NO. 2:12-cv-01629-MCE-AC
  Fax (925) 932-1623
                                SUMMARY JUDGMENT AND/OR PARTIAL SUMMARY JUDGMENT
                            1   I, Sean Conley, declare as follows:
                            2         1. I am an attorney duly licensed to practice before this Court, and one of the attorneys of
                            3            record for Defendants in this action.
                            4         2. Attached hereto as Exhibit A is Plaintiff’s Response to Special Interrogatories from
                            5            Defendant Robinson.
                            6         3. Attached hereto as Exhibit B is Plaintiff’s Response to Special Interrogatories from
                            7            Defendant Boersma.
                            8         4. Attached hereto as Exhibit C is Plaintiff’s Response to Special Interrogatories from
                            9            Defendant Cunningham.
                           10         5. Attached hereto as Exhibit D is Plaintiff’s Response to Special Interrogatories from
                           11            Defendant Munoz.
                           12         6. Attached hereto as Exhibit E is Plaintiff’s Response to Special Interrogatories from
                           13            Defendant Koutnik.
                           14         7. Attached hereto as Exhibit F is Plaintiff’s Response to Special Interrogatories from
                           15            Defendant Nichelini.
                           16         8. Plaintiff has not served supplemental responses to any of these Special Interrogatories.
                           17         9. Attached hereto as Exhibit G is a true and correct copy of the transcript of the deposition
                           18            of Roger Clark taken in this action.
                           19         10. Attached hereto as Exhibit H is a true and correct copy of the transcript of the deposition
                           20            of Dr. Werner Spitz taken in this action.
                           21   ///
                           22   ///
                           23   ///
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                           25   ///
                           26   ///
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  Fax (925) 932-1623
                                 SUMMARY JUDGMENT AND/OR PARTIAL SUMMARY JUDGMENT
                            1      11. Attached hereto as Exhibit I is a true and correct copy of the Solano County Sheriff-
                            2          Coroner’s report received by the City of Vallejo from the Coroner’s Office, including the
                            3          pathologic diagnosis. This document was previously produced to Plaintiff in this action
                            4          and marked as document number 150-164. The Court is hereby asked to take judicial
                            5          notice of this document.
                            6          I declare under penalty of perjury under the laws of the United States of America that the
                            7   forgoing is true and correct.
                            8

                            9                                                    Respectfully submitted,
                           10                                                        GIBBONS & CONLEY
                           11

                           12   DATE: March 17, 2016                                  /s/ Sean Conley
                                                                                     SEAN CONLEY
                           13                                                        Attorney for Defendants
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